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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



BENJAMIN F. STANLEY,      )                       MOTION TO VACATE
       Movant,            )                       28 U.S.C. § 2255
                          )
v.                        )                       CRIMINAL FILE
                          )                       NUMBER 1:09-cr-406-TCB
UNITED STATES OF AMERICA, )
        Respondent.       )                       CIVIL ACTION FILE
                          )                       NUMBER 1:15-cv-060-TCB



                                     ORDER

      This case is currently before the Court on Magistrate Judge Janet

F. King’s Report and Recommendation (the “R&R”) [367]. No objection

to the R&R has been filed.

      A district judge has a duty to conduct a “careful and complete”

review of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d

732, 732 (11th Cir. 1982) (quoting Nettles v. Wainwright, 677 F.2d 404,

408 (5th Cir. 1982)).1 This review may take different forms, however,



      1 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit

decisions issued before October 1, 1981, as well as all decisions issued after that
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depending on whether there are objections to the R&R. The district

judge must “make a de novo determination of those portions of the R&R

to which objection is made.” 28 U.S.C. § 636(b)(1)(C). In contrast, those

portions of the R&R to which no objection is made need only be

reviewed for clear error. Macort v. Prem, Inc., 208 F. App’x 781, 784

(11th Cir. 2006).2

      After conducting a complete and careful review of the R&R, the

district judge may accept, reject or modify the magistrate judge’s

findings and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681

F.2d at 732. The district judge may also receive further evidence or




date by a Unit B panel of the former Fifth Circuit. Stein v. Reynolds Sec., Inc., 667
F.2d 33, 34 (11th Cir. 1982); see also United States v. Schultz, 565 F.3d 1353, 1361
n. 4 (11th Cir.2009) (discussing the continuing validity of Nettles).
      2 Macort dealt only with the standard of review to be applied to a

magistrate’s factual findings, but the Supreme Court has held that there is no
reason for the district court to apply a different standard to a magistrate’s legal
conclusions. Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this
circuit have routinely applied a clear-error standard to both. See Tauber v.
Barnhart, 438 F. Supp. 2d 1366, 1373–74 (N.D. Ga. 2006) (collecting cases). This is
to be contrasted with the standard of review on appeal, which distinguishes
between the two. See Monroe v. Thigpen, 932 F.2d 1437, 1440 (11th Cir. 1991)
(when a magistrate’s findings of fact are adopted by the district court without
objection, they are reviewed on appeal under a plain-error standard, but questions
of law remain subject to de novo review).

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recommit the matter to the magistrate judge with instructions. 28

U.S.C. § 636(b)(1)(C).

     The Court has conducted a careful and complete review of the

R&R and finds no clear error in its factual or legal conclusions.

Therefore, the Court ADOPTS AS ITS ORDER the R&R [367].

Petitioner’s case is DISMISSED, and Petitioner is DENIED a certificate

of appealability (“COA”). Should Petitioner wish to appeal the Court’s

decision, he must seek a COA from the U.S. Court of Appeals for the

Eleventh Circuit pursuant to Fed. R. App. P. 22. The Clerk is

DIRECTED to close the case.

     IT IS SO ORDERED this 16th day of September, 2015.




                                   _____________________
                                   Timothy C. Batten, Sr.
                                   United States District Judge




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